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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

AMERICAN LIBRARY ASSOCIATION, _ )
et al., )
)

Plaintiffs, )

)

V. ) Civil Case No. 25-1050 (RJL)

)

KEITH SONDERLING, Acting Director, _)
Institute of Museum and Library Services, )
etal, )
)

Defendants. )

Sr
MEMORANDUM ORDER

May ¢ , 2025 [Dkt. #13]

This matter initially came before the Court on plaintiff American Library
Association’s (“ALA”) and plaintiff American Federation of State, County and Municipal
Employees, AFL-CIO’s (“AFSCME”) motion for a preliminary injunction (“PI”). See
Pls.’ PI Mot. [Dkt. #13]; Pls.” Mem. in Supp. of PI Mot. (“Pls.’ PI Mem.”) [Dkt. #13-1].
Plaintiffs sought a decision on the PI by May 4, 2025, as defendants intend to execute a
“mass termination of [Institute of Museum and Library Services] staff’ on that day. Pls.’
PI Mot. at 1.

When the Court held oral argument on the PI motion on April 30, 2025, it conferred
with the parties and, given the imminent firings, plaintiffs moved to convert the PI motion

into a motion for a temporary restraining order (“TRO”). The Court agreed to do so.'! See

' The Court did so over defense counsel’s objection that had no apparent legal basis to support it!

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Min. Entry (Apr. 30, 2025). As such, the Court now finds that plaintiffs have met their
burden to obtain a TRO.” However, the Court will grant only a narrow TRO to preserve
the status quo as of the date of this Order. This will prevent additional harm while allowing
the Court to further consider the parties’ briefing on the PI.

I. BACKGROUND

The following are the facts as alleged by plaintiffs. In 1996, Congress passed the
Museum and Library Services Act (“MLSA”), which established the Institute of Museum
and Library Services (“IMLS”). Compl. 4 15. IMLS is a small, independent agency which
awards grants and offers services to libraries and museums. Jd. f§ 1, 15, 17. The MLSA
sets out multiple requirements for IMLS, including certain grants which must be issued
and certain qualifications which the Director must possess. Jd. J] 19-29. Congress
appropriated almost $300 million to IMLS for 2025. Id. J 16.

On March 14, 2025, President Trump issued an Executive Order titled “Continuing
the Reduction of the Federal Bureaucracy,” which declared IMLS “unnecessary” and
ordered that it “be eliminated to the maximum extent consistent with applicable law.”
Exec. Order No. 14,238, 90 Fed. Reg. 13,043 (Mar. 14, 2025). Shortly thereafter, President
Trump designated Deputy Secretary of Labor Keith Sonderling as Acting Director of
IMLS, Compl. § 37, and officials from the Department of Government Efficiency arrived

at IMLS’s offices to begin “shutting down the agency,” id. 4 40. Defendants put the vast

* Since “[t]he same standard applies to both temporary restraining orders and to preliminary injunctions,”
the Court is able to rule on the TRO with the benefit of the parties’ briefing on the PI. See, e.g., Sterling
Commer. Credit — Mich., LLC v. Phoenix Indus. I, LLC, 762 F. Supp. 2d 8, 12 (D.D.C. 2011) (quoting Hall
v. Johnson, 599 F. Supp. 2d 1, 3 n.2 (D.D.C. 2009)).

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majority of IMLS’s approximately 75 employees on administrative leave and fired all
members of IMLS’s Board. Jd. {§ 41-42, 47. Defendants have also been broadly
terminating IMLS grants and contracts, including “the vast majority of competitive IMLS
grants.” See id. § 48; Pls.’ Reply in Supp. of PI Mot. (“Pls.’ Reply”) [Dkt. #34] at 6.

On April 7, 2025, plaintiffs filed suit in this Court. Plaintiffs then filed their PI
motion, which was fully briefed before the Court converted it into a TRO motion. See
generally Defs.’ Opp’n to Pls.’ PI Mot. (“Defs.’ Opp’n’”) [Dkt. #21]; Pls.’ Reply.

II. ANALYSIS

To obtain a TRO, the movant must establish: “(1) a substantial likelihood of success
on the merits; (2) that the moving party would suffer irreparable injury if the temporary
restraining order were not granted; (3) that such an order would not substantially injure
other interested parties; and (4) that such an order furthers the public interest.” Sibley v.
Obama, 810 F. Supp. 2d 309, 310 (D.D.C. 2011) (citing Chaplaincy of Full Gospel
Churches v. England, 454 F.3d 290, 297 (D.C. Cir. 2006)). The last two factors merge
when the Government is the opposing party. See Nken v. Holder, 556 U.S. 418, 435 (2009).

Here, plaintiffs have met their burden to obtain a TRO. First, they have shown a
substantial likelihood of success on the merits.? The wholesale termination of grants and
services and the mass layoffs appear to violate the clear statutory mandates outlined in the
MLSA. See, e.g., 20 U.S.C. § 9103(a)(3) (The Director “shall be appointed from among

individuals who have special competence with regard to library and information services”

3 At the outset, the Court finds that plaintiffs will very likely be able to establish that they have standing,
that this case is ripe, and that this Court has jurisdiction.

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or “special competence with regard to museum services’); id. § 9108(a) (“The Director
shall regularly support and conduct, as appropriate, policy research, data collection,
analysis and modeling, evaluation, and dissemination of information to extend and improve
the Nation’s museum, library, and information services.”’); id. § 9131(b) (“From the sums
appropriated . . . the Director shall award grants from minimum allotments [of $680,000] .
. . to each State.”); id. § 9161 (“[T]he Director shall award grants to Indian tribes and to
organizations that primarily serve and represent Native Hawaiians.”); id. § 9162(a) (“[T]he
Director shall establish and carry out a program to enhance the quality of library services
nationwide and to provide coordination between libraries and museums... .”). Moreover,
defendants’ conduct contravenes Congress’s appropriation of almost $300 million to
IMLS. Plaintiffs are therefore likely to succeed in showing that defendants’ actions to
unilaterally shutter IMLS violate, at minimum, the Administrative Procedure Act. See
Compl. {| 88—107.

Second, plaintiffs have demonstrated irreparable injury. Plaintiffs point to myriad
harms—supported by declarations—to ALA, AFSCME, and their members. See Pls.’ PI
Mem. 28-35. Plaintiffs have established that the grant terminations, loss of access to IMLS
expertise and services, and loss of access to IMLS data have forced libraries to end
programs midstream, fire employees, and, in some cases, completely shutter. See id. These
are not merely economic harms. See, e.g., Alan Inouye Decl. [Dkt. #13-2] ¥ 9 (terminating
grants “would reduce funding for important tools to put people to work or retrain them for
new fields,” “immediately reduce literacy programs,” and “immediately reduce the

availability of critical services for students, researchers, and innovators”); id. § 18 (“I

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believe that without NAB and NAE grants, many tribal libraries would cease to exist.”);
id. {29 (“ALA and libraries across the nation would experience the loss of project benefits,
as well as reputational harm for ending projects and staffing mid-stream.”); Jane Billinger
Decl. [Dkt. #13-17] §{[ 6-8 (“[T]he lack of access to IMLS survey [data] will immediately
reduce the bargaining power of all AFSCME-affiliated unions representing library
employees around the country, and this harm will be irreparable because once a CBA is
executed, it is a binding contract with a fixed duration.”). These harms are neither
speculative nor remediable.

Third, the balance of the equities and public interest tip in favor of granting a limited
TRO. Defendants assert that disrupting IMLS’s efforts to comply with the Executive Order
harms the public interest, see Defs.’ Opp’n 43-44, but the Court finds that the public
interest in compliance with MLSA’s mandates and in preserving crucial access to library
services outweighs defendants’ claimed interest.

III. CONCLUSION

For the reasons set forth above, the Court will GRANT IN PART plaintiffs’ motion
fora TRO. The Court will not, at this time, issue a TRO providing all of the relief sought
by plaintiffs. Instead, the Court will issue a narrow TRO preserving the status quo as of
this Order.

Accordingly, it is hereby

ORDERED that defendants Keith Sonderling, Institute of Museum and Library
Services (“IMLS”), Amy Gleason, U.S. DOGE Service, U.S. DOGE Service Temporary

Organization, Russel Vought, and U.S. Office of Management and Budget (together, the

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“agency defendants”) shall not take any further actions to dissolve IMLS or its operations;
it is further

ORDERED that the agency defendants shall not place any additional IMLS staff
on administrative leave; it is further

ORDERED that the agency defendants shall not terminate the employment of any
IMLS staff; it is further

ORDERED that the agency defendants shall not further pause, cancel, or otherwise
terminate IMLS grants or contracts or fail to fund such grants or contracts for reasons other
than grantees’ or contractors’ non-compliance with applicable grant or contract terms; and
it is further -

ORDERED that by May 6, 2025, the parties shall submit a joint status report (1)
informing the Court whether the parties require any supplemental briefing on the
preliminary injunction and, if so, proposing a briefing schedule; and (2) stating whether
the parties consent to the Court extending this temporary restraining order until the Court

issues a ruling on the preliminary injunction or the case is otherwise resolved.

SO ORDERED.

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RICHARD J. LEON
United States District Judge

